                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

                                   NO. 5:18-CR-00452-FL-1


 UNITED STATES OF AMERICA                    )
                                             )
          v.                                 )                       ORDER
                                             )
 LEONID ISAAKOVICH TEYF                      )
                                             )


       This matter having come before the Court on Defendant’s motion to amend judgment,

and for good cause shown and consistent with the provisions of the First Step Act, 18 U.S.C. §

3621(b), it is hereby ORDERED that the Amended Judgment [DE 650] shall be amended to read

as follows: The court recommends that he serve his term in FCI Butner, NC, or if not Butner,

then another BOP facility within 500 driving miles of Defendant’s primary residence in Raleigh,

NC.

       This 5th day of November, 2021.



                                            LOUISE WOOD FLANAGAN
                                            United States District Judge




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